Filed 06/29/21                                                                Case 20-25057                                             Doc 245

     FORM L53 Notice to File Proof of Claim Due to Possible Recovery of Assets (v.12.15)                               20−25057 − E − 7

                    UNITED STATES BANKRUPTCY COURT
                         Eastern District of California
                                Robert T Matsui United States Courthouse
                                        501 I Street, Suite 3−200
                                         Sacramento, CA 95814

                                                   (916) 930−4400
                                                www.caeb.uscourts.gov
                                                M−F 9:00 AM − 4:00 PM



       NOTICE TO FILE PROOF OF CLAIM DUE TO POSSIBLE RECOVERY OF ASSETS


     Case Number:               20−25057 − E − 7
     Debtor Name(s), Social Security Number(s), and Address(es):


         David S Fletcher
         xxx−xx−3592

         713 Saddleback Drive
         Marysville, CA 95901

                                                                    Deadline to File a Proof of Claim:

                                        Proof of Claim must be received by the Bankruptcy Clerk's Office by 9/27/21




         NOTICE IS HEREBY GIVEN THAT:

         The initial notice in this case instructed creditors that it was not necessary to file a Proof of Claim. The trustee has now
        notified the court that payment of a dividend appears possible.
        Creditors who wish to share in any possible distribution of funds must file a Proof of Claim with the Clerk of the
        Bankruptcy Court on or before the date indicated above unless otherwise provided by statute or rule. Claims that are not
        filed by the date indicated above might not be paid. Any creditor who has already filed a Proof of Claim in this case need
        not file another.
        A Proof of Claim with attachments may be filed electronically in all cases by completing the online B410 Proof of Claim
        form at https://ecf.caeb.uscourts.gov/cgi−bin/autoFilingClaims.pl on the bankruptcy court's web site. A username or
        password is not required to file an electronic claim. Instructions can be found at
        http://www.caeb.uscourts.gov/ElectronicClaims.aspx.
        Alternatively, Official Form 410, the official form prescribed for a Proof of Claim, may be printed and filed with the Clerk at
        the address shown above. Official Form 410 is available on the bankruptcy court's web site at
        http://www.caeb.uscourts.gov/documents/Forms/Official/B10.pdf and may be obtained at any bankruptcy clerk's office. To
        receive proof of its receipt by the bankruptcy court, enclose a photocopy of the claim together with a stamped,
        self−addressed envelope.

        There is no fee for filing a Proof of Claim.


     Dated:                                                                            For the Court,
     6/29/21                                                                           Wayne Blackwelder , Clerk
